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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COL()RADO

ln re:
Case, No. 17-11810-MER
Judith Jean Schneider, Chapter 13
Debtor

 

MOTION TO APPROVE STIPULATION RESOLVING
MOTION FOR RELIEF FR()M AUTOMATIC STAY AND CO-DEBTOR STAY

l\/lovant, Wilmington Savings Funds Society, FSB as Owner Trustee of Residential Credit
Opportunities Trust V-C, hereby files its motion for the Court to approve the stipulation entered
into between the parties and, in support thereof, states as follows:

l. Movant filed a Motion for Relief from Stay on February 21, 2019 at Doc #70 and a
Motion for Relief frorn Co-Debtor Stay on February 21, 2019 as Doc #71, and holds a lien on the
following described property:

Lot 21, Block 8 Woodglen, Filing No. 6, County of Adams, State of Colorado.
FOR TITLE REFERENCE, SEE DEED IN DOCUMENT #20050830000936640

Also known as: 4316 E 113th Place, Thornton, Colorado 80233

2. The parties subsequently met and agreed to enter into a Written stipulation resolving
the pending Motion for Relief.

3. The original stipulation attached to this Motion is submitted for the Court's approval
and execution

WHEREFORE, Movant, Wilrnington Savings Funds Society, FSB as Owner Trustee of
Residential Credit Opportunities Trust V-C, requests that this Court approve and execute the
stipulation.

Dated: April 16, 2019

 

 

CYLG, P.C.

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

In re: Case No. 17-1 1810-MER
Judith Jean Schneider,
xxx-xx-0318, Chapter 13

Debtor

 

Wilrnington Savings Funds Society, FSB as
Owner Trustee of Residential Credit
Opportunities Trust V-C, its successors and/or
assigns

Movant,

VS.

Judith Jean Schneider xxX-xx-0318;

John R. Schneider xxx-xx-9843, Co-Debtor;

and Adam M Goodman, Trustee,
Respondents.

 

 

STIPULATION RESOLVING MOTION FOR RELIEF FROM
AUTOMATIC STAY AND CO-DEBTOR STAY

 

Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan Trust A filed
their Motion for Relief From Automatic Stay (Docket No. 70) and Motion for Relief From
Automatic Stay as to Co-Debtor (Docket No. 71). The loan was service released effective March 25,
2019. A transfer of claim was filed with the court on April 1, 2019 as Docket No. 78 transferring the
claim to Wilmington Savings Funds Society, FSB as Owner Trustee of Residential Credit
Opportunities Trust V-C serviced by AMIP Management. Wilmington Savings Funds Society, FSB
as Owner Trustee of Residential Credit Opportunities Trust V-C serviced by AMIP Management,
successors and/or assigns, (“Movant”) and the Debtor above-named, by and through their
undersigned counsel, stipulate and jointly move for the entry of the Order submitted herewith as
follows:

1. The Debtor is indebted to M_ovant pursuant to a Promissory Note secured by a Deed of Trust,
which was subsequently assigned to Movant. Said instruments have created a lien upon the
property in favor of Movant.

2. The property identified under said documents from which Movant has a valid lien and
security interest is described as foilows:

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Lot 21, Block 8 Woodglen, Filing No. 6, County of Adams, State of Colorado.
FOR TITLE REFERENCE, SEE DEED IN DOCUMENT #20050830000936640
Also known as: 4316 E 113"' Place, Thornton, Colorado 80233.

3. Movant has a valid lien and security interest in the property as evidenced by virtue of a
Promissory Note and properly recorded Deed of Trust.

4. Debtor and Movant wish to enter into this Stipulation to Resolve Movant’s pending Motion,
to allow the Debtor to bring payments current or otherwise resolve the loan default as may
be specified herein, and to allow Movant to obtain an Order for Relief from Stay and Co-
Debtor Stay if the terms ofthis stipulation are not fulfilled.

5. Debtor shall continue to make timely payments pursuant to the Note, commencing with the
April 15, 2019 payment.

Regular monthly amounts may be subject to change for escrow adjustments, interest rate
adjustments, or otherwise, if the loan documents provide for such changes.

Debtor shall pay off arrearages in the total amount of $10,963.31, representing $9,932.31
in post-petition payments from July 15, 2018 through March 15, 2019, and attorneys’
fees and costs of $1,031.00. Said arrearages shall be paid in monthly installments of
$913.61 each, commencing on May 1, 2019, and continuing on the lst day of each month
thereafter until March l, 2020, with the balance of $913.60 to be paid on or before April
1, 2020.

All payments shall be made payment to Movant’s servicing agent, with the loan number
noted on the remittance. All payments shall be mailed or delivered to:

FCI Lender Services, Inc.
PO Box 27370
Anaheim Hills, CA 92809

6. The automatic stay of 11 U.S.C. § 362 be, and same is hereby, continued in effect with
respect to Movant, its successors and assigns, and the Property, provided that Debtor
timely pays the ad valorem taxes going forward and maintain property insurance, if not
escrowed for such. lf the loan is escrowed, Debtor shall also be obligated to pay the full
amount of escrow due and proceed with all requirements under the loan, including but
not limited to timely notifying Movant in the event different insurance is requested.
These obligations shall continue annually thereafter until the indebtedness secured by the
Property is fully paid.

7. In the event of one (1) payment default (i.e. payment not received by the due date or in the
amount set forth in the note or by this Stipulation, including “NSF” (Non-Sufficient Funds),
during any consecutive twelve (12) month period, including paying insurance and/or all ad

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valorem taxes in full Witr:in the specified time period Movant may obtain an order for
relief from stay permitting Movant to foreclose its security interest, which Order the Court
shall enter upon receiving Written notice of such default provided that Mrwant shall first
give ten (IO) days written notice to Debtor at her current mailing address and to Debter's
counsel at said counsel’s address herein, which notice shall be deemed given as of the date it
is deposited in the U.S. Mail, first class postage fully prepaid The Order for Relief shail be
immediately effective and shall not be stayed pursuant to Bankruptcy Rule 4001(3)(3).

Upon entry of the Order approving this Stipulation. Movant’s Motion for Relief from Stay,
filed on or about February 21, 2019 (Docket No. 705 and for Relier` from Co-Debtor Stay on
Fcbruary Zl, 2019 (Docket No. 7l.) shall he deemed withdrawn Any hearing or preliminary
hearing thereon shall be vacated

if this proceeding is a Chapter l3 case` this Stipulation shall survive conversion of this case
to a Chapter 7 proceeding

In the event the case is dismissed or discharged this Stipul.ation is tenninated and of no
further force or effect

A Notice of Fees, Expenscs~ and Charges pursuant to Bankruptcy Rule 3002.1(<:) is not
required for thc fees and costs included and disclosed us part this Ordcr.

in the event Movant is granted relief from stay and co-dcbtor stay, the Trustee shall make no
farther distribution toward the secured portion of the(jlaim.

She)uld Creditor obtain relief from the Automatic Stay and Co»Debtor Stay due to a breach
of the terms of this Order, any final Order for Relief from the Automatic Stay and Co-
chtor Stay shall provide for the i~l~day Stay described by Bankruptcy R.ule 400}(3')(3) to
be waived

DATED; 4/ /5; 5 q

 

CYLG. P.C. W.»'-\"ETON LAW GROUP
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Phone 303-333-,1.252 PhOn¢I 720- 599-4600

F. l~iZ-OO-#.NF Attorney for Debtor

OFFICE OF THE CHAPTER 13 “FRUS`L`EE
Approved as to Form

 

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO

 

In re:
Judith Jean Schneider, Case No. 17-1181.0-MER
Debtor. Chapter 13
CERTIFICATE OF SERVICE

Ihereby certify that on the l § Q day of 2410/ij 1 ZO/ 67 , a true and

correct copy of the STIPULATION RESOLVING MOTION FOR RELIEF FROM
AUTOMATIC STAY AND CO-DEBTOR STAY, together With a copy of the ORDER
APPROVING STIPULATION RESOLVING MOTION FOR RELIEF FROM
AUTOMATIC STAY AND CO-DEBTOR STAY, Was sent by U.S. mail, proper postage affixed,

or electronically, to the following

Judith Jean Schneider
4316 East 113th Place
Thornton, CO 80233 Debtor

John R. Schneider
4316 East 113th Place
Thornton, CO 80233
Co-Debtor

Michael J. Watton

301 West Wisconsin Avenue, 5th Floor
Milwaukee, WI 53203

Attorney for Debtor

Thomas A. Arany

Watton Law Group

1660 Lincoln St., Ste. 2505
Denver, CO 80264
Attorney for Debtor

Adam I\/l Goodman
P.O. Box 1169

Denver, CO 80201
Chapter 13 Trustee

U.S. Trustee

Byron G. Rogers Federal Building
1961 Stout St., Ste., 12-200
Denver, CO 80294

/S/Sherrie Shinkle
Sherrie Shinkle

